             Case 8:13-mj-01789-TJS Document 22 Filed 03/27/19 Page 1 of 1


                                 IN THE UNITED STATES DISTRICT COURT                                           FILED — RECEIVED

                                     FOR THE DISTRICT OF MARYLAND
                                                                                                             MAR 2 7 2019
                                                                                                                 AT GREENBELT
UNITED STATES OF AMERICA                                                                                   CLERK, U.S. DISTRICT COURT
                                                                                                             DISTRICTOFMARYLAND
                                                                                                  SY                                    DEPUTY

                         VS.                                                      Case No. JKS 13-mj-01789

        ERIC EOIN MARQUES




                                  ORDER OF DETENTION BY AGREEMENT


          A hearing, having been held on this date, at which the defendant was represented by f---1

   1'1 ichftel C:rk--MHB-NiS                                         , and the Government was represented by
                                                                                                                             .•.


Assistant United States Attorney                        pdp h PA-EA-d1                0—               ,	 it is               ge
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          ORDERED, this 27th day of March 2019, that the above-named defendant be, and

the same hereby is, DETAINED by agreement of the parties without prejudice to either side

requesting a prompt hearing to set appropriate conditions of release or otherwise address the

detention of the defendant.



                                                                                 fiAnAncimANIA
                                                                          Timothy J. Sullivan
                                                                          United States Magistrate Judge




U.S. District Court (4/2000) Criminal Magistrate Forms: Detention by Agreement
